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           EXHIBIT A
Case: 1:18-op-45246-DAP Doc #: 16-1 Filed: 11/23/20 2 of 5. PageID #: 234
 AO 399 (01/09) Waiver of the Service of Summons



                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                             Northern District of Ohio

                     Bullock County, Alabama                              )
                                  Plaintiff                               )
                            v.                                            )       Civil Action No. 1:18-op-45246-DAP
       Par Pharmaceutical, Inc., Par Pharmaceutical                       )
                   Companies, Inc.
                                 Defendant                                )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        Peter J. Mougey
                  (Name of the plaintiff’s attorney or unrepresented plaintiff)

         I have received your request to waive service of a summons in this action along with a copy of the complaint,
 two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
            I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
           I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
 jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
          I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
 60 days from            5/3/2019                , the date when this request was sent (or 90 days if it was sent outside the
 United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

 Date:         June 5th, 2019
                                                                                                     /s/ Sean Morris
                                                                                        Signature of the attorney or unrepresented party
         Par Pharmaceutical Companies, Inc.                                                              Sean Morris
       Printed name of party waiving service of summons                                                   Printed name
                                                                                           Arnold & Porter Kaye Scholer LLP
                                                                                           777 S. Figueroa Street, 44th Floor
                                                                                             Los Angeles, California 90017
                                                                                                             Address
                                                                                             sean.morris@arnoldporter.com
                                                                                                         E-mail address
                                                                                                       (213) 243-4000
        Case: 1:18-op-45246-DAP Doc #: 16-1 Filed: 11/23/20 3 of 5. PageID #: 235                      Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
has no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
 AO 399 (01/09) Waiver of the Service of Summons



                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                             Northern District of Ohio

                     Bullock County, Alabama                              )
                                  Plaintiff                               )
                            v.                                            )       Civil Action No. 1:18-op-45246-DAP
       Par Pharmaceutical, Inc., Par Pharmaceutical                       )
                   Companies, Inc.
                                 Defendant                                )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        Peter J. Mougey
                  (Name of the plaintiff’s attorney or unrepresented plaintiff)

         I have received your request to waive service of a summons in this action along with a copy of the complaint,
 two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
            I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
           I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
 jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
          I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
 60 days from             05/03/2019             , the date when this request was sent (or 90 days if it was sent outside the
 United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

 Date:        June 5th, 2019                                                                           /s/ Sean Morris
                                                                                        Signature of the attorney or unrepresented party
                  Par Pharmaceutical, Inc.                                                               Sean Morris
       Printed name of party waiving service of summons                                                   Printed name
                                                                                           Arnold & Porter Kaye Scholer LLP
                                                                                           777 S. Figueroa Street, 44th Floor
                                                                                             Los Angeles, California 90017
                                                                                                             Address
                                                                                             sean.morris@arnoldporter.com
                                                                                                         E-mail address
                                                                                                       (213) 243-4000
        Case: 1:18-op-45246-DAP Doc #: 16-1 Filed: 11/23/20 4 of 5. PageID #: 236                      Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
has no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
            Case: 1:18-op-45246-DAP Doc #: 16-1 Filed: 11/23/20 5 of 5. PageID #: 237




  AO 399(01 /09) Waive,· of the Service of Summons



                                             UNITED STATES DISTRICT COURT
                                                                        for the
                                                               Northern District of Ohio

                      Bullock County, Alabama                              )
                                    Plaintiff                              )
                                        v.                                 )       Civil Action No . I: I 8-op-45246-DAP
                               SpecGx, LLC                                 )
                                   Defendant                               )


                                                     WAIVER OF THE SERVICE OF SUMMONS

  To:        Peter J. Mougey
                   (Name of the plaintiff's a//orney or unrepresented plaintiff)

          I have received your request to waive service of a summons in this action along with a copy of the complaint,
  two copies of this waiver form, and a prepaid means ofretuming one signed copy of the form to you.
             I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
           I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
 jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
          I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
 60 days from             5/3/2019               the date when this request was sent ( or 90 days if it was sent outside the
 United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:
                                                                                        Signature of the attorney or unrepresented party
                           SpecGX LLC                                                                 Andrew O'Connor
        Printed name ofparty waiving service of summons                                                    Printed name
                                                                                                  Ropes & Gray, LLP
                                                                                         Prudential Tower, 800 Boylston Street
                                                                                               Boston, MA 02199-3600
                                                                                                              Address
                                                                                           Andrew.O'Connor@ropesgray.com
                                                                                                     E-mail address
                                                                                                   (617) 951-7000
                                                                                                        Telephone number


                                                Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
has no jurisdiction over this matter or over the defendant or the defendant's property.
         If the waiver is signed and returned, you can still make these and all other defenses and objections, but you caimot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than ifa summons had been
served.
